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lntersections Inc. and Net Enforcers, Inc.,
Plaintiffs,
v.
Joseph C. Loomis and Jenni M. Loomis,

Defendants.

Case 1:09-cV-00597-LI\/|B-TCB Document 156 Filed 07/19/10 Page 1 of 2 Page|D# 2094

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Civil Action NO. 1:O9CV597 (LMB/TCB)

FILED UNDER SEAL

 

 

 

DEFENDANT JOE LOOMIS’ REPLY TO PLAINTIFFS’
RESPONSE TO DEFENDANTS’ OPPOSITIONS TO M()TION
TO ENFORCE PURPORTED SETTLEMENT

FILED UNDER SEAL

Respectfully Submitted,

 

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Case 1:09-cV-OO597-LI\/|B-TCB Document 156 Filed 07/19/10 Page 2 of 2 Page|D# 2095

CERTIFICATE OF SERVICE

l hereby certify that on this 19th day of July, 2010, l have filed a true and correct copy of the
foregoing With the Clerk of Court via the Cl\/l/ECF efiling system Which will send notification of

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